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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF LOUISIANA
                                ALEXANDRIA DIVISION


  THE STATE OF LOUISIANA et al.,
                                                    No. 1:21-cv-3867
                          Plaintiffs,
      v.                                            Judge Dee D. Drell

  JOSEPH R. BIDEN et al.,                           Magistrate Judge Joseph H. L. Perez-Montes

                          Defendants.



                              DEFENDANTS’ NOTICE OF APPEAL

           PLEASE TAKE NOTICE that all Defendants hereby appeal to the United States Court of

 Appeals for the Fifth Circuit from this Court’s Ruling and Order on the Motions for Preliminary

 Injunction and to Stay, dated December 15, 2021 and filed the next day at ECF No. 47. That

 Ruling and Order granted-in-part and denied-in-part Plaintiffs’ Amended Motion for Preliminary

 Injunction (ECF No. 22), and granted-in-part and denied-in-part Defendants’ Motion to Stay

 (ECF No. 43).


           Dated: January 11, 2022                   Respectfully submitted,

                                                     BRIAN M. BOYNTON
                                                     Acting Assistant Attorney General

                                                     BRAD P. ROSENBERG
                                                     Assistant Branch Director

                                                     /s/ Kevin Wynosky
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